Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 1 of 65




                EXHIBIT A
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 2 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 3 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 4 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 5 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 6 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 7 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 8 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 9 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 10 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 11 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 12 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 13 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 14 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 15 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 16 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 17 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 18 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 19 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 20 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 21 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 22 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 23 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 24 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 25 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 26 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 27 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 28 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 29 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 30 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 31 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 32 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 33 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 34 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 35 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 36 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 37 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 38 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 39 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 40 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 41 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 42 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 43 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 44 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 45 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 46 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 47 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 48 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 49 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 50 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 51 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 52 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 53 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 54 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 55 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 56 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 57 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 58 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 59 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 60 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 61 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 62 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 63 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 64 of 65
Case 2:08-cv-00797-RAJ Document 23-2 Filed 12/11/08 Page 65 of 65
